            Case 1:21-cr-00195-TFH Document 48 Filed 02/10/22 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,
      Plaintiff,                                        Criminal Case No. 21-cr-00195

 vs.

 DEBORAH SANDOVAL                                  MOTION TO CONTINUE HEARING
 SALVADOR SANDOVAL, JR.,
      Defendants.


       COMES NOW, Defendant Salvador Sandoval, Jr., by and through counsel, and for his

Motion to Continue Hearing states to the Court as follows:

       1.      A Motions Hearing is currently set for March 23, 2022.

       2.      Beginning March 22, 2022, undersigned counsel is scheduled to be in a two-week

       trial for State of Iowa vs. Greg Maxwell, Marshall County Case No. FECR095260l.

       3.      The undersigned counsel has contacted Special Assistant United States Attorney

       Louis Manzo, counsel for the Government, and Anthony Martin, counsel for Deborah

       Sandoval, and both have no objection to a continuance.

       4.      Undersigned counsel is in receipt of the Government’s Consent Motion to Continue

       Motion Deadline and Hearing (Document 47) and agree that the Motions Hearing be

       continued until April 27, 2022 and that the reply deadline to the defense motions be March

       15, 2022.

       WHEREFORE, Salvador Sandoval, Jr. requests this Honorable Court grant his Motion to

Continue Hearing.


RESPECTFULLY SUBMITTED:                             KUTMUS, PENNINGTON & HOOK, PC

                                                           /s/ William Kutmus
                                                    William Kutmus AT0004450
                                                    Bill@KPHlawfirm.com
          Case 1:21-cr-00195-TFH Document 48 Filed 02/10/22 Page 2 of 2




                                                           /s/ Trever Hook
                                                    Trever Hook AT0003580
                                                    5000 Westown Parkway, Suite 310
                                                    West Des Moines, IA 50266
                                                    Phone: (515) 288-3339
                                                    Fax: (515) 288-8629
                                                    Trever@KPHlawfirm.com
                                                    ATTORNEYS FOR DEFENDANT
                                                    SALVADOR SANDOVAL, JR.


                                CERTIFICATE OF SERVICE

       I hereby declare that on February 10, 2022, I electronically filed the foregoing with the
Clerk of Court using the ECF system which will send notification of such filing to the following:

Mr. Louis Manzo
Department of Justice
1400 New York Avenue NW
Washington, DC 20002

                                                    /s/ Jodi A. Nissen
